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                           THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF UTAH


    RYAN WALZ,                                       REPORT AND RECOMMENDATION

                  Plaintiff,
                                                       Case No. 2:24-cv-00724-HCN-JCB
    v.

    JESSICA OLIVERI; and HALLIDAY
    WATKINS & MANN, P.C.,                             District Judge Howard C. Nielson, Jr.

                  Defendants.                          Magistrate Judge Jared C. Bennett


         This case is referred to Magistrate Judge Jared C. Bennett under 28 U.S.C.

§ 636(b)(1)(B). 1 Before the court are Plaintiff Ryan Walz’s (“Mr. Walz”) complaint 2 and “Motion

for Stay of Trustee Sale and Request for Temporary Restraining Order” (“Motion”). 3 Based upon

the analysis set forth below, the court recommends dismissal of this case without prejudice sua

sponte for lack of subject-matter jurisdiction and, consequently, that the Motion be deemed moot.

                                          BACKGROUND

         Mr. Walz’s complaint names as defendants Jessica Oliveri and Halliday Watkins & Mann,

P.C. (collectively, “Defendants”) and lists a Utah address for each of them. 4 Mr. Walz generally

alleges that Defendants assisted in scheduling and advertising an improper trustee sale of certain



1
    ECF No. 10.
2
    ECF No. 1.
3
    ECF No. 7.
4
    ECF No. 1 at 1-2.
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of his real property in Utah. 5 Mr. Walz does not request any monetary relief. Instead, Mr. Walz

seeks a court order requiring Defendants to “cease all actions relating to” his real property and

removing “all title documents related to” his real property. 6 Mr. Walz alleges that Defendants

have violated the Due Process Clause of the Fifth Amendment and, therefore, asserts

federal-question jurisdiction under 28 U.S.C. § 1331. 7 Several days after he filed his complaint,

Mr. Walz filed the Motion, in which he requests the issuance of a temporary restraining order

halting Defendants’ actions related to the trustee sale and his real property. 8

                                              ANALYSIS

           The court recommends that this case be dismissed without prejudice sua sponte for lack

of subject-matter jurisdiction and, consequently, that the Motion be deemed moot. First, the court

should dismiss this case without prejudice sua sponte because subject-matter jurisdiction is

lacking. “Insofar as subject[-]matter jurisdiction is concerned, it has long been recognized that a

federal court must, sua sponte, satisfy itself of its power to adjudicate in every case and at every

stage of the proceedings . . . .” 9 “A court lacking jurisdiction cannot render judgment but must

dismiss the cause at any stage of the proceedings in which it becomes apparent that jurisdiction




5
    Id. at 4.
6
    Id.
7
    Id. at 3.
8
    ECF No. 7.
9
  Tafoya v. U.S. Dep’t of Just., L. Enf’t Assistance Admin., 748 F.2d 1389, 1390 (10th Cir. 1984);
see also Fed. R. Civ. P. 12(h)(3) (“If the court determines at any time that it lacks subject-matter
jurisdiction, the court must dismiss the action.”).

                                                   2
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is lacking.” 10 As the plaintiff, Mr. Walz bears the burden of establishing subject-matter

jurisdiction. 11

          Mr. Walz asserts federal-question jurisdiction under 28 U.S.C. § 1331, which provides

that “[t]he district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States.” For federal-question jurisdiction to exist, Mr.

Walz’s complaint must establish “either that federal law creates the cause of action or that [his]

right to relief necessarily depends on resolution of a substantial question of federal law.” 12 “The

complaint must identify the statutory or constitutional provision under which the claim arises,

and allege sufficient facts to show that the case is one arising under federal law.” 13 Further,

federal-question jurisdiction “exists only where there is a colorable claim arising under federal

law.” 14 Although “[a] claim can be meritless while still being colorable, . . . a court may dismiss

for lack of subject-matter jurisdiction when the claim is so insubstantial, implausible, foreclosed

by prior decisions of this Court, or otherwise completely devoid of merit as not to involve a

federal controversy.” 15




10
  Tuck v. United Servs. Auto. Ass’n, 859 F.2d 842, 844 (10th Cir. 1988) (quotations and citation
omitted) (emphasis in original).
11
  Montoya v. Chao, 296 F.3d 952, 955 (10th Cir. 2002) (“The burden of establishing
subject-matter jurisdiction is on the party asserting jurisdiction.”).
12
   Firstenberg v. City of Santa Fe, N.M., 696 F.3d 1018, 1023 (10th Cir. 2012) (quotations and
citations omitted).
13
     Martinez v. U.S. Olympic Comm., 802 F.2d 1275, 1280 (10th Cir. 1986).
14
  McKenzie v. U.S. Citizenship & Immigr. Servs., Dist. Dir., 761 F.3d 1149, 1156 (10th Cir.
2014) (quotations and citations omitted).
15
     Id. at 1156-57 (quotations and citations omitted).

                                                   3
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          Mr. Walz’s complaint fails to establish federal-question jurisdiction. As stated above, the

sole basis for Mr. Walz’s assertion of federal-question jurisdiction is Defendants’ alleged

violations of the Due Process Clause of the Fifth Amendment. That basis is wholly insufficient

because “[t]he Due Process Clause of the Fifth Amendment applies only to action by the federal

government,” 16 and Defendants are a private individual and a private entity. Thus, Mr. Walz

cannot state a Fifth Amendment claim here. Therefore, the court lacks subject-matter jurisdiction

over this case. 17 Accordingly, the court recommends that this case be dismissed without prejudice

sua sponte. 18

          Second, given Mr. Walz’s failure to establish subject-matter jurisdiction, the court should

not reach the merits of the Motion. Instead, the Motion should be deemed moot. 19




16
     Koessel v. Sublette Cnty. Sheriff’s Dep’t, 717 F.3d 736, 748 n.2 (10th Cir. 2013).
17
    Mr. Walz did not assert diversity jurisdiction under 28 U.S.C. § 1332(a)(1), which provides
that “[t]he district courts shall have original jurisdiction of all civil actions where the matter in
controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is between
. . . citizens of different States.” But even if he had done so, it appears that he would still fail to
establish the existence of subject-matter jurisdiction. Indeed, Mr. Walz’s complaint provides
Utah addresses for himself and both Defendants, and he does not request monetary damages.
18
  Brereton v. Bountiful City Corp., 434 F.3d 1213, 1216 (10th Cir. 2006) (“A longstanding line
of cases from this circuit holds that where the district court dismisses an action for lack of
jurisdiction, . . . the dismissal must be without prejudice.”).
19
   Given that the Fifth Amendment does not apply to private parties, Mr. Walz’s complaint also
fails to state claims for relief under Fed. R. Civ. P. 12(b)(6). Therefore, that is an additional
reason why this case should be dismissed, and the Motion be deemed moot.

                                                    4
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                                         RECOMMENDATION

          For the reasons stated above, the court HEREBY RECOMMENDS that this case be

DISMISSED WITHOUT PREJUDICE sua sponte and, consequently, that the Motion 20 be

deemed MOOT.

                                         NOTICE TO PARTIES

          Copies of this Report and Recommendation are being sent to all parties, who are hereby

notified of their right to object. 21 The parties must file any objections to this Report and

Recommendation within 14 days after being served with a copy of it. 22 Failure to object may

constitute waiver of objections upon subsequent review.

          DATED this 11th day of October 2024.

                                                BY THE COURT:




                                                JARED C. BENNETT
                                                United States Magistrate Judge




20
     ECF No. 7.
21
     28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(2).
22
     28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(2).

                                                   5
